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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

    In re:                                              Chapter 7

    JEVIC HOLDING CORP., et al.,1                       Case No. 08-11006 (BLS)
                                                        (Jointly Administered)
                          Debtors.

    OFFICIAL COMMITTEE OF
    UNSECURED CREDITORS, on behalf of                   Adv. No. 08-51903 (BLS)
    the bankruptcy estates of JEVIC HOLDING
    CORP., et al.,
                          Plaintiff,
                   v.                                   Re: Adv. Dkt. Nos. 43, 121-122, 130-132
                                                            and 136
    THE CIT GROUP/BUSINESS CREDIT,
    INC., in its capacity as Agent, et al.,

                          Defendants.


     REPLY OF THE CIT GROUP/BUSINESS CREDIT, INC. IN (I) OPPOSITION TO
    MOTION TO SUBSTITUTE AS REAL PARTY IN INTEREST, AND (II) SUPPORT OF
                MOTION FOR JUDGMENT ON THE PLEADINGS



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1
 The Debtors in this Chapter 7 case, along with the last four digits of the Debtors’ federal tax identification
numbers are: Jevic Holding Corp. (8738); Creek Road Properties, LLC (9874); and Jevic Transportation,
Inc. (3402).
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        The CIT Group/Business Credit, Inc. (“CIT”), as agent for itself and BMO Harris Bank

N.A., Bank of America, N.A., PNC Bank, National Association, and Wells Fargo Capital Finance

(together with CIT in its capacity as lender, the “Lender Group”), by and through its counsel, Reed

Smith LLP, submits this Reply Brief (the “Reply Brief”) in (I) Opposition to the Motion to

Substitute Chapter 7 Trustee as Real Party in Interest (the “Motion to Substitute”) [Adv. Dkt. No.

121], and (II) Support of its Motion for Judgment on the Pleadings Pursuant to Federal Rule of

Civil Procedure 12(c) (the “Motion for Judgment on the Pleadings”) [Adv. Dkt. No. 130], and

states as follows:2

                                          INTRODUCTION

        1.      The Trustee argues that the Court should grant the Motion to Substitute because

(i) the Trustee derivatively may assert the claims in the Complaint, (ii) the Debtors did not waive

their right to assert a claim against CIT in the DIP Order, and (iii) the Trustee “steps into the shoes

of” the Debtors upon conversion to chapter 7. Chapter 7 Trustee’s Combined (I) Opposition Brief

to Sun Capital’s and CIT Group/Business Credit, Inc.’s Motions for Judgment on the Pleadings,

and (II) Reply Brief in Support of Motion to Substitute Chapter 7 Trustee as Real Party in Interest

(the “Trustee Brief”) [Adv. Dkt. No. 136], pp. 10–15. The Trustee is incorrect.

        2.      First, as the Trustee concedes, the Trustee steps into the Debtors’ shoes, not the

Committee’s shoes.

        3.      Second, the Debtors unequivocally waived their right to assert a claim against CIT

in the DIP Order, and the Trustee is barred from bringing the claims in the Complaint. It is




2
 Capitalized terms not defined in this Reply Brief shall have the meanings ascribed to them in the Opening
Brief of the CIT Group/Business Credit Inc., as Agent, in (I) Opposition to the Motion to Substitute Chapter
7 Trustee as Real Party in Interest and (II) Support of the Motion of the CIT Group/Business Credit, Inc.,
as Agent, for Judgment on the Pleadings (the “CIT Brief”) [Adv. Dkt. No. 132].
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irrelevant whether a claim still “exists” as the Trustee alleges because the Debtors waived their

right to pursue any such claims in exchange for the financing provided under the DIP Order.

       4.      The Trustee also argues that the Court should deny the Motion for Judgment on the

Pleadings because (i) the section 546(e) “safe harbor” defense does not apply to actual fraudulent

transfer claims; (ii) the section 546(e) defense is inapplicable to collapsed transactions (such as

leveraged buyouts), and here, the transactions should be collapsed; (iii) the Court already

determined that the Complaint adequately alleges lack of reasonably equivalent value; (iv) CIT is

an “insider,” and the reshuffling of allegations in the Complaint adequately alleges equitable

subordination; and (v) CIT is judicially estopped from arguing that the Trustee should disgorge

the Administrative Claim Fund before suing CIT. Id., pp. 15–39. The Trustee is incorrect.

       5.      First, the Complaint does not contain any allegation of actual fraud. Therefore,

whether section 546(e) applies to actual fraudulent transfer claims is irrelevant.

       6.      Second, assuming that the transactions can be collapsed (contrary to recent case

law), multiple binding decisions of the United States Court of Appeals for the Third Circuit have

applied section 546(e) in the leveraged buyout (“LBO”) context.

       7.      Third, the Court’s prior decision regarding the adequacy of pleading lack of

reasonable equivalent value is not determinative because CIT raises an entirely different issue (i.e.,

reasonably equivalent value in the context of the alleged “collapsed” transactions) in the Motion

for Judgment on the Pleadings than CIT raised in its prior motion to dismiss (i.e., the exchange of

loan proceeds and liens solely in the context of the Refinancing Facility). The Trustee does not

(and cannot) dispute that the Complaint and the documents relied upon therein establish that,

although former shareholders received approximately $41 million in the LBO (i.e., the Bank of




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Montreal financing), the Debtors received a release of approximately $53 million in intercompany

claims. Thus, the Complaint establishes that the Debtors received reasonably equivalent value.

       8.      Fourth, the Complaint does not adequately allege equitable subordination because

(as the Court has determined) CIT is not an “insider,” and the Complaint does not allege otherwise.

The mere reshuffling of allegations in the prior version of the Complaint does not do anything to

satisfy the pleading standard that the prior version of the Complaint also failed to satisfy.

       9.      Fifth, CIT is not judicially estopped from arguing that the Trustee should disgorge

the Administrative Claim Fund before asserting any claims against CIT. The fact that it was

“virtually impossible” or “unlikely” that CIT could recover all of the funds distributed from the

Administrative Claim Fund does not preclude CIT from demanding restoration of its pre-

settlement position before being sued for claims that were released under the prior settlement

(approval of which was vacated). Indeed, the Trustee should be judicially estopped as he seeks in

another adversary proceeding to keep recoveries of CIT’s funds while simultaneously suing CIT

on account of claims that were released in exchange for such funds.

                                              REPLY

A.     The Trustee Cannot “Step Into the Shoes” of the Committee.

       10.     The Trustee admits that a chapter 7 trustee “steps into the shoes” of the debtor and

can only assert those causes of action possessed by the debtor. Trustee Brief, p. 10; see also CIT

Brief, pp. 11–12. The Trustee, however, erroneously argues that the Debtors did not waive in the

DIP Order their right to pursue the claims alleged in the Complaint. Trustee Brief, pp. 10–15.

       11.     A debtor-in-possession’s agreement to waive or limit the terms upon which

fraudulent transfers can be asserted against lenders is binding on a chapter 7 trustee. See In re BX

Acquisitions, Inc., 2019 WL 1768144, at *6 (B.A.P. 6th Cir. Apr. 19, 2019) (“Pursuant to 11 U.S.C.

§ 1107(a), a debtor-in-possession is granted the powers of a trustee. It follows that an agreement


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made by a debtor-in-possession that is set forth in an agreed cash collateral order generally will—

unless the order expressly states otherwise—be binding on a subsequently appointed trustee.”)

(quotation marks omitted). “[I]t is axiomatic that the Trustee is bound by the acts of the debtor-

in-possession.” Armstrong v. Norwest Bank, Minneapolis, N.A., 964 F.2d 797, 801 (8th Cir. 1992).

        12.     The Trustee concedes that the Debtors (subject to the rights of parties in interest to

assert timely claims on behalf of the bankruptcy estates) stipulated to the validity, enforceability

and non-avoidability of CIT’s liens and “waived any and all claims and causes of action against”

CIT (and the Lender Group). See DIP Order, ¶¶ 38-39 and 61; Trustee Brief, p. 11.

        13.     Pursuant to the DIP Order, those stipulations are “binding upon the Debtors and

any successor thereto (including without limitation any Chapter 7 . . . trustee appointed or elected

for any of the Debtors) in all circumstances.” See DIP Order, ¶ 60 (emphasis added).

        14.     The Trustee points out that the DIP Order did not “exclusively link the right to

pursue a challenge to the Committee. In fact, the DIP Order specifically states that ‘any party-in-

interest, including a Chapter 7 . . . trustee appointed or elected during the Investigation Period . .

. , shall be permitted to . . . assert . . . any claims or causes of action against the [Defendants] on

behalf of the Debtors’ estates . . . .’” Trustee Brief, p. 12 (citing DIP Order, ¶ 39) (emphasis

added). The Trustee was neither appointed nor elected during the Investigation Period.3


3
  The Trustee engages in linguistic gymnastics in attempting to argue that the phrase “any party-in-interest,
including a Chapter 7 . . . trustee appointed or elected during the Investigation Period” in the DIP Order
should not be read to limit the right of “any party-in-interest”—including (the Trustee argues) a trustee
appointed or elected outside of the Investigation Period—to assert a challenge. Trustee Brief, p. 13, n. 7.
The Trustee, however, ignores that the remainder of the same sentence requires a challenge to be “filed no
later than 75 days from the Petition Date or with respect to the Committee not later than 75 days after the
date of the appointment of the Committee.” DIP Order, ¶ 39. The Trustee also ignores that the DIP Order
establishes separate Investigation Periods for parties in interest and the Committee: (i) 75 days following
the Petition Date for parties in interest, including a chapter 7 trustee, which deadline expired almost 12
years ago; and (ii) 75 days after the appointment of the Committee for the Committee. See DIP Order, ¶ 39.
Although the Committee had standing to commence the Adversary Proceeding because its Investigation
Period had not expired (as it was extended by multiple stipulations), the Trustee’s Investigation Period had
already expired approximately five months before the Adversary Proceeding was commenced. In short,


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        15.     Although the Committee timely filed the Adversary Proceeding against CIT, the

Cases subsequently were converted to chapter 7 bankruptcy cases.                Upon conversion, the

Committee was disbanded and the Trustee was appointed. The Trustee, as the successor to the

Debtors, is bound by the Debtors’ admissions and waivers and cannot step into the Committee’s

shoes as plaintiff in the Adversary Proceeding. See DIP Order, ¶ 60 (Debtors’ “stipulations and

admissions” are “binding upon . . . any Chapter 7 . . . trustee appointed or elected for any of the

Debtors[] in all circumstances”) (emphasis added).

        16.     The Trustee relies upon In re World Health Alternatives, Inc., 344 B.R. 291 (Bankr.

D. Del. 2006), to support his argument that he can derivatively assert the Committee’s claims

against CIT. The Trustee, however, misreads World Health. In that case, the Court specifically

noted that the debtor stipulated to the allowability and perfection of CapitalSource’s secured claim

and that such stipulations “are binding on their successors and assigns, including any bankruptcy

trustee.” Id. at 293. Although the debtor and the trustee were bound by those stipulations, the

debtor also had potential claims against its officers and directors, which were not waived in the

financing order. When the Court was considering what might happen upon conversion to chapter

7, the court did not say that the chapter 7 trustee could step into the committee’s shoes with respect

to any challenge to CapitalSource’s claims or liens. Instead, the court simply said that, “[u]pon

conversion, the Committee will no longer exist. The chapter 7 trustee will then have the right to

pursue causes of action on behalf of the estate against the Debtors' officers, directors, and




the only “party-in-interest” that timely filed a challenge was the Committee—and the Trustee cannot “step
into the shoes” of the Committee.



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professionals.” Id. at 303 (emphasized added). The Trustee omits that italicized language in his

quotation of World Health. Trustee Brief, p. 12.4

        17.     The Trustee erroneously argues that because the Committee timely asserted a

challenge during the Investigation Period, the Debtors’ estates were not otherwise barred from

bringing claims against CIT, and, therefore, the DIP Order does not bar the Trustee from bringing

the claims in the Complaint. The Tenth Circuit has rejected that same argument. The issue here

is not whether a claim may exist–the question is who may assert such a claim and whether the

Debtor waived its right to do so in the DIP Order. See In re MS55, Inc., 477 F. 3d 1131, 1136

(10th Cir. 2007) (“[T]he real question is not whether a full release exists, but rather who retained

any existing right to bring an avoidance action. It is well established that a chapter 7 trustee

succeeds to the rights of the debtor-in-possession and is bound by prior actions of the debtor-in-

possession to the extent approved by the court . . . The creditors’ committee may have retained a

right of action, but that does not remove the existing bar against the debtor-in-possession or, post-

conversion, the trustee enforcing those rights. [The debtor] and, post-conversion, the trustee are

barred from bringing an avoidance action regardless of whether the right to an avoidance action

exists.”) (emphasis added). “The derivative rights exist like a sword in a stone, but there is no

Arthur to claim them.” MS55, Inc., 477 F.3d at 1140; see also In re Tanglewood Farms, Inc. of

Elizabeth City, 2013 WL 1829910, at *10 (Bankr. E.D.N.C. May 1, 2013) (dismissing trustee’s

adversary proceeding to avoid and recover fraudulent and preferential transfers “because he,

stepping into the shoes of the debtor-in-possession, cannot attack or take a position inconsistent


4
  For similar reasons, the Trustee erroneously relies upon In re ATS Prod. Corp., 2003 WL 25947346
(Bankr. E.D. Pa. June 5, 2003). The ATS decision does not address the issue before the Court, i.e., whether
a chapter 7 trustee can assert a claim when the debtor—into whose shoes the trustee steps—has waived the
right to bring such claim. Instead, the court simply states, in a footnote, the unremarkable general
proposition that a trustee can continue litigation post-conversion from chapter 11 to chapter 7. See ATS,
2003 WL 25947346, at *2, n.4.


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with those actions previously taken by the debtor-in-possession”). Here, CIT provided DIP

Financing in exchange for the waivers contained in the DIP Order and the Court should hold the

Debtors to their bargain.

         18.    The Trustee makes one last attempt to avoid In re MS55, Inc. Specifically, the

Trustee argues that a “critical distinction” between MS55 and the present case is the fact that the

“Tenth Circuit noted that the financing order barred both the “Debtor's estate ... [and] debtor” from

pursuing any causes of action against the secured creditors” whereas, in the present case (according

to the Trustee), “the avoidance actions remain as rights of the estate.” Trustee Brief, p. 12. The

distinction asserted by the Trustee simply does not exist. The DIP Order in this case also barred

any entity (including successors and assigns) from asserting challenges after the Investigation

Period. See DIP Order, ¶ 39 (“shall not be subject to any other or further challenge by any party-

in-interest seeking to exercise the rights of the Debtors’ estates, including without limitation, any

successor thereto”) (emphasis added); ¶ 56 (“The provisions of this Final Order shall be binding

upon . . . the Debtors and their respective successors and assigns (including any trustee . . .

appointed as a legal representative of the Debtors or with respect to the property of the estates of

the Debtors)”) (emphasis added). The Trustee’s argument that the DIP Order does not bar the

estates from asserting claims against CIT after the expiration of the Investigation Period is simply

false.

         19.    The only difference between MS55 and the present case is that the financing order

in MS55 permitted only the committee (on behalf of the estate) to assert a challenge during the

investigation period, whereas the DIP Order permitted the Committee and other parties-in-interest

(on behalf of the estates) to assert a timely challenge. That distinction is meaningless. Here, only




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the Committee (on behalf of the estates) asserted a timely challenge during the Investigation

Period.

          20.    The Trustee also asserts that the “situation is quite similar to that found in” In re S.

Rachles, Inc., 131 B.R. 782 (Bankr. D.N.J. 1991). The opposite is true. “Rachles should not be

read to stand for a proposition that the creditors’ committee has independent avoidance claims of

its own to which the trustee inevitably succeeds. The trustee in Rachles was not succeeding to the

independent rights of the creditors’ committee, but rather joining the committee’s already initiated

derivative claim of the debtor’s rights in a case where the trustee was not otherwise barred by

previous arrangements made by the debtor-in-possession.” MS55, Inc., 477 F.3d at 1139

(emphasis added).

          21.    Financing orders, like the DIP Order and agreements among the parties before the

Court, must be enforced if this Court is to retain the predictability for which it is recognized.

Allowing a trustee to evade a debtor-in-possession’s prior agreements would be highly inequitable

and would have a chilling effect on the ability of a debtor-in-possession to negotiate compromises

in chapter 11. “Creditors must be able to deal freely with debtors-in-possession, within the

confines of the bankruptcy laws, without fear of retribution or reversal at the hands of a later

appointed trustee.” Armstrong v. Norwest Bank, Minneapolis, N.A., 964 F.2d 797, 801 (8th Cir.

1992); see also In re Carolina Fluid Handling Intermediate Holding Corp., 467 B.R. 743, 756,

n.67 (Bankr. D. Del. 2012) (quoting Armstrong), aff'd, 2013 WL 1124064 (D. Del. Mar. 18, 2013).

Here, in exchange for providing DIP Financing, CIT bargained for and received a complete release

subject to a 75 day Investigation Period. The Debtors or the Committee could have attempted to

negotiate a broader carve-out that would have preserved the rights of a future chapter 7 trustee or




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negotiated other terms that would have preserved these claims, but they failed to do so. The Court

should enforce the parties’ agreement embodied in the DIP Order.

        22.     Finally, the Trustee argues in passing that Rule 25(c) allows it to pursue the

substantive claims formerly asserted by the Committee. Trustee Brief, pp. 12, 14. “However,

Rule 25(c) is a procedural vehicle not designed to create new relationships among parties to a suit.

It involves a discretionary determination by the trial court to facilitate the conduct of the litigation.

Thus, Rule 25 does not substantively determine what actions survive the transfer of an interest.”

Citibank v. Grupo Cupley, Inc., 382 F.3d 29, 32 (1st Cir. 2009) (internal citations and quotation

marks omitted); see also 28 U.S.C. 2702(b) (federal rules “shall not abridge, enlarge or modify

any substantive right.”). Here, the substantive rights of all parties-in-interest, other than the

Committee, were extinguished when the Investigation Period expired, and the Trustee cannot

revive those substantive rights, through substitution, that were previously extinguished as to the

Debtors.

        23.     For the foregoing reasons, the Court should deny the Motion to Substitute.

B.      The Refinancing Facility and the Sale-Leaseback Cannot Be Collapsed Into a Single
        Transaction with the Acquisition Facility.

        24.     As is common in fraudulent transfer litigation, the constituent elements of an LBO

can be collapsed into a single transaction. Here, that means only that the Acquisition Facility

(provided by Bank of Montreal) and the transfer of $41.3 million to shareholders arguably could

have been collapsed into a single transaction for purposes of fraudulent transfer litigation. See

Complaint, ¶ 86.

        25.     There is no basis, however, to collapse the subsequent Refinancing Facility or the

Sale-Leaseback into the LBO. The LBO was complete upon the closing of the Acquisition




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Facility, which was never conditioned upon the Refinancing Facility or the Sale-Leaseback. The

Committee does not (and cannot) allege otherwise.

       26.     Previously (years ago), the Court determined that “[b]ased on the Committee’s

allegations, the Court could conclude that CIT, Sun, Bank of Montreal, and Jevic were all apprised

of the overall goal—Sun’s acquisition of Jevic through a highly leveraged buyout—of each of

these separate transactions in which the various parties were involved.” Official Committee of

Unsecured Creditors v. The CIT Group/Business Credit, Inc. et al. (In re Jevic Holding Corp.),

2011 WL 4345204 at *7 (Bankr. D. Del. Sept. 15, 2011) (emphasis added). The Court found that

the Committee has alleged that CIT had sufficient knowledge and notice of the LBO and that the

Committee adequately alleged that the LBO, the Refinancing Facility, and the Sale-Leaseback

“would not have occurred independently of each other.” Id. Merely knowing about a potential

transaction, and even expecting that it is “all but certain” to occur, is an insufficient basis to

collapse transactions that are not conditioned upon each other or certain to occur together.

       27.     Based on more recent and highly analogous case law, CIT respectfully submits the

Court’s prior conclusion in 2011 was incorrect and unsupported by any non-conclusory, factual

allegation. For example, the Complaint does not (and could not) allege that the Acquisition

Facility was conditioned upon the Refinancing Facility or that it would not have occurred

“independently” because it was not conditioned upon an agreement to provide the Refinancing

Facility. The Acquisition Facility did occur “independently” of the Refinancing Facility because

the Acquisition Facility was not conditioned upon the Refinancing Facility.

       28.     For good reason, Trustee fails to discuss (or even mention) the recent decision in

Marc S. Kirschner, as Litig. Trustee for the Tribune Litig. Trust v. Dennis J. Fitzsimmons (In re




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Tribune Co. Fraudulent Conveyance Litig.), 2018 WL 6329139 (S.D.N.Y. Nov. 30, 2018),

reconsideration denied, 2019 WL 549380 (S.D.N.Y. Feb. 12, 2019).

       29.     In Tribune, although the parties “clearly knew about both steps of the LBO, and, in

fact, anticipated that both steps would be consummated,” it was “never certain that Step Two

would occur” even though it was “highly likely to occur.” Tribune, 2018 WL 6329139, at *9.

Therefore, the District Court concluded that “Step One and Step Two of the LBO were independent

transactions.” Id.; see also CIT Brief, pp. 26–29.

       30.     Here, the LBO was completed upon the closing of the Acquisition Facility. The

subsequent Refinancing Facility was a separate transaction—regardless of whether it was expected

(or even “highly likely” or “all but certain”) at the time of the Acquisition Facility.

       31.     The Complaint does not (and cannot allege) that the Acquisition Facility was

dependent upon the Refinancing Facility. The Acquisition Facility closed without any condition

or promise (let alone certainty) that there would be any refinancing—whether from CIT or any

other lender. The Complaint does not (and cannot) allege otherwise. Accordingly, as a matter of

law, the Acquisition and the Acquisition Facility (which constituted the LBO) should not be

considered as a single transaction with the Refinancing Facility.

       32.     The Court previously concluded in this case that the Complaint adequately alleged

that the Acquisition Facility and the Refinancing Facility “would not have occurred independently

of each other.” Jevic Holding Corp., 2011 WL 4345204, at *7. In fact, the Complaint contains

nothing more than conclusory statements to support that assertion. The Acquisition Facility did

occur independently of the Refinancing Facility because the Acquisition Facility was not

conditioned upon the Refinancing Facility, and the Complaint does not allege otherwise.




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Moreover, to say that the Refinancing Facility would not have occurred without the Acquisition

Facility is a tautology. No refinancing occurs without the existence of a prior loan to refinance.

       33.     There is even less of a basis to collapse the Sale-Leaseback into a single transaction

with the Acquisition Facility. The Complaint does not (and cannot) allege that the Sale-Leaseback

was even contemplated at the time of the Refinancing Facility, let alone at the time of the

Acquisition Facility.

       34.     It is ironic (and inconsistent) that the Trustee alleges that the Refinancing Facility

and the Sale-Leaseback must be collapsed with the Acquisition Facility into a “single integrated

transaction” while he simultaneously argues that the transfers to CIT “are not related to a security

transaction” (the repurchase of the shareholders’ stock as part of the LBO) for purposes of the

section 546(e) defense. Trustee Brief, pp. 16 and 32.

       35.     For the foregoing reasons, the Court should enter judgment on the pleadings in

CIT’s favor with respect to Counts 1-10 and Count 12 of the Complaint.

C.     If the Transactions Are Collapsed, the Section 546(e) “Safe Harbor” Defense
       Requires Judgment in CIT’s Favor on All Avoidance Claims.

       i.      The Trustee’s Argument that the 546(e) Safe Harbor Defense Does Not Apply to
               Claims of Actual Fraud Is Irrelevant Because the Complaint Does Not Allege
               Actual Fraud.

       36.     The Trustee argues that CIT cannot assert the section 546(e) “safe harbor” because

it is inapplicable to actual fraudulent transfer claims. Trustee Brief, pp. 16–17 (claiming that

Counts 1, 2, 13, 14, 15, 16, and 17 of the Complaint assert claims for actual fraud under §

548(a)(1)(A)). However, the Complaint does not contain any claim to avoid an actual fraudulent

transfer. Rather, the cited counts of the Complaint, some of which are not even directed at CIT,

contain only allegations that the Debtors received less than “reasonably equivalent value.” See,

e.g., Complaint, ¶¶ 139, 145, 226, 232, 238, 243, and 249. These allegations are governed by



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section 548(a)(1)(B), which are covered by the safe harbor defense. See 11 U.S.C. § 546(e)

(“Notwithstanding sections 544, 545, 547, 548(a)(1)(B), and 548(b) of this title, the trustee may

not avoid a transfer . . .”) (emphasis added). As such, this argument is irrelevant.5

        ii.      Section 546(e) Applies if the Transactions Are Collapsed.

        37.      The Trustee’s only other argument in opposition to CIT’s assertion of the section

546(e) defense is that such defense is inapplicable to a “multi-step, collapsed transaction like the

one at hand.” Trustee Brief, p. 22. Even assuming, arguendo, that the Refinancing Facility and

the Sale-Leaseback could be collapsed with the original Bank of Montreal Acquisition Facility

into a single LBO transaction, the Third Circuit has repeatedly held that section 546(e) applies to

transfers in connection with an LBO. See Lowenschuss v. Resorts Int’l, Inc. (In re Resorts Int’l,

Inc.), 181 F.3d 505, 516 (3d Cir. 1999), abrogated in part on other grounds, Merit Mgmt. Grp.,

LP v. FTI Consulting, Inc., 138 S. Ct. 883 (2018); Brandt v. B.A. Capital Co. (In re Plassein Intl.

Corp.), 590 F. 3d 252, 256 (3d Cir. 2009); Official Comm. of Unsecured Creditors of Hechinger

Inv. Co. of Del. v. Fleet Retail Fin. Grp. (In re Hechinger Inv. Co. of Del.), 274 B.R. 71, 83-89 (D.

Del. 2002) (applying section 546(e) to “collapsible” LBO transaction).6 Indeed, it would be unfair

in the extreme if the Trustee was able to collapse transactions for purposes of establishing a

fraudulent transfer, while CIT was unable to assert section 546(e) with respect to the collapsed



5
  Moreover, even if the Complaint did contain claims for actual fraud under section 548(a)(1)(A), it would
still fail because it does not “state with particularity the circumstances constituting fraud or mistake.” Fed.
R. Bankr. P. 7009 (incorporation Fed. R. Civ. P. 9). Even applying a liberal standard (which does not apply
here because the Trustee has had substantial discovery to date), the allegations referenced in the Trustee’s
Brief do not contain any specific factual allegations of fraud by CIT, let alone enough to make a colorable
claim of actual fraud. See, e.g., In re Oakwood Homes Corp., 325 B.R. 696, 698-99 (Bankr. D. Del. 2005).
6
  The Trustee erroneously argues that Hechinger does not support CIT’s argument that 546(e) is applicable
to collapsed LBO transactions. Trustee Brief, p. 22, n. 10. The Hechinger Court expressly acknowledged
“that the court in Resorts International found that section 546(e) is generally applicable to LBO transactions
and that Resorts International is binding as direct controlling precedent on this court.” See Hechinger Inv.
Co. of Del. v. Fleet Retail Fin. Group (In re Hechinger Inv. Co. of Del.), 274 B.R. 71, 86 (D. Del. 2002).


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transactions. Fortunately, that is not the law. See, e.g., Giuliano v. Schnabel (In re DSI Renal

Holdings, LLC), 2020 WL 1509447, at *8 (Bankr. D. Del. Mar. 30, 2020) (“Here, the Trustee took

advantage of the collapsing doctrine when he identified the relevant transfers. . . . Rather than

focusing on the single step of the Restructuring . . ., the Trustee has linked the Restructuring’s

multi-steps together . . . . This transfer, as framed by the Trustee using the collapsing doctrine, has

served as the starting point for NML’s section 546(e) defense, which has been applied using the

facts and circumstances of the Restructuring as a whole.”).

        38.     To support his argument that section 546(e) is inapplicable to LBOs, the Trustee

relies on In re Mervyn’s Holdings, LLC, 426 B.R. 488 (Bankr. D. Del. 2010). Trustee Brief, pp.

22–23. The Trustee ignores both the facts of Mervyn’s and the fact that it has not been followed

with respect to its incorrect statement of the law regarding the applicability of section 546(e) in

the context of collapsed transactions.

        39.     In Mervyn’s, the Court stated that, “as a general rule, section 546(e) does not apply

to ‘collapsed’ transactions.’” 426 B.R. at 500. The binding Third Circuit cases cited above

disprove that proposition. So does the more recent Bankruptcy Court decision in DSI Renal

Holdings. 2020 WL 1509447, at *8 (“collapsing of the Restructuring's multiple integrated

transactions does not preclude NML's use of the securities safe harbor”). If the transactions are

collapsed, section 546(e) applies and bars the avoidance claims against CIT. See CIT Brief, § D(i).

        40.     Therefore, the Court should enter judgment in favor of CIT on Counts 1-10 and

Count 12 of the Complaint.7



7
  The Trustee argues that the applicability of section 546(e) cannot be decided in the context of a motion
for judgment on the pleadings. Trustee Brief, p. 26. The Court in Mervyn’s, 426 B.R. 488, upon which the
Trustee heavily relies, analyzed section 546(e) in the context of a motion to dismiss. The Supreme Court
in Merit Management, 138 S. Ct. 883, also analyzed the issue in the context of a motion for judgment on
the pleadings.


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D.      The Allegations in the Complaint Unwittingly Evidence Reasonably Equivalent
        Value.

        i.       The Trustee’s Argument that the Court Already Held that the Complaint
                 Adequately Alleges Lack of Reasonably Equivalent Value Is Irrelevant to CIT’s
                 Present Argument.

        41.      The Trustee argues that this Court “has already acknowledged that, at least for

pleading purposes, the Complaint adequately alleges the elements necessary to collapse the LBO

Transactions.” Trustee Brief, p. 31. Therefore, he argues, CIT cannot “re-raise this issue now.”

Id. CIT is not raising the same argument.

        42.      CIT’s prior argument regarding “reasonably equivalent value” focused on the

exchange of value solely with respect to the Refinancing Facility (e.g., loan proceeds in exchange

for liens on the Debtors’ assets). That argument holds true if the transactions are not collapsed.

        43.      CIT’s present argument is that, even assuming arguendo that the Acquisition

Facility, the Refinancing Facility, and the Sale-Leaseback are collapsed into a single transaction,

the allegations in the Complaint establish that the Debtors received reasonably equivalent value.

Specifically, and as discussed below, although shareholders received $41 million in the LBO, the

Debtors received more than $53 million in value by virtue of the waiver of intercompany claims.

        ii.      The Debtors Received Reasonably Equivalent Value.

        44.      The Trustee asserts that CIT improperly focuses solely on the value exchanged in

the Acquisition, rather than analyzing the value of the collapsed transactions “holistically.” That

is incorrect.

        45.      In the CIT Brief, CIT addressed the exchange of value in the Acquisition because,

absent the collapsing of the transactions, it is obvious that CIT provided reasonably equivalent

value to the Debtors in the Refinancing Facility. Considering the Refinancing Facility in isolation,



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CIT provided to the Debtor a $101.2 million credit facility ($85 million Revolver and a

$16.2 million Term Loan), and the Debtor provided liens to CIT to secure the Debtors’ borrowings

under the Refinancing Facility. The liens only secured money borrowed by the Debtors. Focusing

only on the Refinancing Facility, that such exchange involves reasonably equivalent value requires

no discussion.

        46.      However, the Court (in its opinion on CIT’s motion to dismiss) determined that

analyzing reasonably equivalent value focusing solely on the Refinancing Facility was not the

proper analysis if the transactions are collapsed. See Jevic Holding Corp., 2011 WL 4345204, at

*9 (“CIT’s argument does not take into account the [Complaint’s] argument that when the

transactions relating to the Jevic LBO are collapsed, the aggregate value of the obligation incurred

and the transfers made by Jevic exceeds and is therefore not reasonably equivalent to the aggregate

value that CIT provided to Jevic in return.”).

        47.      In the CIT Brief, CIT focuses on the value provided to the Debtors in connection

with the other portion of the allegedly collapsible transaction—the Acquisition Facility. Of the

$90 million in Acquisition Facility proceeds, $41.3 million was paid to the former shareholders.

As explained in the CIT Brief, however, the Complaint establishes that the Debtors received

reasonably equivalent value notwithstanding the payment to the former shareholders because—as

the Complaint and the documents upon which it relies establish—the Debtors received a release

of $53 million in intercompany claims. Viewed “holistically,” the Debtors received reasonably

equivalent value in both the Refinancing Facility transaction (loans for liens) and in the

Acquisition Facility.8


8
  The Trustee also argues that “viewed as a whole, the purported cancellation of approximately $53 million
in intercompany debt is far less than the value transferred to CIT in the LBO Transactions including
securing more than $100 million of debt with the Debtors’ collateral [sic] and the sale of $20 million in
valuable real estate assets.” Trustee Brief, p. 33. That assertion makes little sense as it ignores that CIT


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        48.     Therefore, the Court should enter judgment in favor of CIT on Counts 1-10 and

Count 12 of the Complaint.

E.      The Complaint Does Not Adequately Allege Equitable Subordination.

        49.     Recognizing that the “equitable subordination” claim cannot survive scrutiny

applicable to claims against “non-insiders,” the Trustee advances an argument so unsupported by

the Complaint that the Committee did not even argue it. The Trustee claims that “the Complaint

sets forth a number of allegations against CIT which suggest that . . . CIT was, for purposes of an

equitable subordination analysis, an insider.” Trustee Brief, p. 34. This argument fails.

        50.     The Complaint does not (nor could it) allege that CIT is an “insider.”

The Complaint contains no allegation of any control, let alone the “high level of control,” that

would support a finding that CIT was an “insider.” See, e.g., Official Comm. of Unsecured

Creditors of Champion Enters., Inc. v. Credit Suisse (In re Champion Enters., Inc.), 2010 WL

3522132, at *6 (Bankr. D. Del. Sept. 1, 2010) (“courts have refused to apply insider status absent

a showing of a high level of control by the lender”). The Trustee’s arguments that CIT, in

enforcing its contractual remedies, “forced” the Sale-Leaseback and “was an integral part of the

entire LBO Transaction and actively participated throughout the process” fall far short of the high

level of control necessary to render CIT an “insider.” Trustee Brief, pp. 34-35. If the Trustee’s

assertion were true, every lender exercising contractual remedies and every participant in an LBO

would be considered an “insider.”




provided a $101.2 million credit facility—and loans thereunder—in exchange for the liens granted to secure
such loans. The Debtors sold real estate to pay back loans. The repayment of a loan in the amount lent
plus interest is anything but a transaction lacking reasonably equivalent value. The only element of the
collapsed transaction that could subject the Refinancing Facility to an avoidance claim is the $41.2 million
that was paid to former shareholders in connection with the Acquisition Facility. The Debtors, however,
received a $53 million reduction in debt as part of that transaction.


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       51.     As CIT is not an “insider,” the Complaint must plead “more egregious conduct such

as fraud, spoliation or overreaching.” Schubert v. Lucent Techs. Inc. (In re Winstar Commc’ns,

Inc.), 554 F.3d 382, 412 (3d Cir. 2009). Merely reshuffling allegations (which were already

incorporated by reference into the claims) from the factual background section to the equitable

subordination claim does not change the substance of the allegations. See Jevic Holding Corp.,

2011 WL 4345204, at *14 (“the Committee has alleged only that CIT’s conduct, as it is described

in the Committee’s preceding claims, warrants the equitable subordination of CIT’s claims against

the Debtors. Based on such sparse allegations, however, the Court cannot conclude that the

Committee has sufficiently alleged a claim for equitable subordination against CIT and will

therefore dismiss the claim.) (citations omitted) (emphasis added). The Committee’s description

of CIT’s alleged conduct in the Complaint does not differ from the previously-dismissed claim.

       52.     Accordingly, the Court should enter judgment in CIT’s favor with respect to Count

11 of the Complaint.

F.     CIT is Not Judicially Estopped From Arguing that The Administrative Claim Fund
       Should be Returned.

       53.     None of the requirements for judicial estoppel have been met here. First, taking the

position that the settlement was equitably moot is not “irreconcilably inconsistent” with arguing

that the Supreme Court’s mandate should be carried out fully before this litigation proceeds.

Second, consummating the settlement was not done “in bad faith—i.e., with intent to play fast and

loose with the court.” A litigant does not act in bad faith by not awaiting a “final order” before

consummating a settlement approved by a lower court even if they had the right to do so. Finally,

allowing the Trustee to essentially seek a double recovery against CIT by not unwinding the

settlement would be a maximum, not minim sanction.




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       54.     The Trustee argues that CIT should be barred from arguing “that [its] settlement

contributions should be returned before the Trustee can pursue claims against [CIT].” Trustee

Brief, p. 36. The Trustee relies upon CIT’s statement that “[a]ny attempt to undo these transaction

and events and return to the status quo that existed before the … Settlement Order and the parties

consummated the Settlement Agreement would be virtually impossible” and that “it likely is

impossible to put CIT, the Lender Group, and Sun back in the position they occupied before they

relied on the unstayed Settlement Order.” See Joint Brief in Support of Joint Motion of the

Debtors, CIT, Sun Capital, and the Official Committee of Unsecured Creditors to Dismiss Appeal

of Settlement Order as Equitably Moot, Czyzewski v. Jevic Holding Corp. (In re Jevic Holding

Corp.), No. 13-104-SLR (D. Del. Nov. 21, 2013) (the “Equitable Mootness Brief”) [Dkt. No. 15];

see also Trustee Brief, p. 37.

       55.     “Virtually impossible” or “likely impossible” does not mean “impossible,” or that

CIT is barred from attempting to recover the Administrative Claim Fund. Recovering those funds

has proven to be a difficult task as the recipients of the funds have refused to return such funds,

and the Trustee now disputes his obligation to restore CIT to its pre-settlement position.

       56.     Moreover, as a matter of law, there is no bad faith if a party’s prior position was

not adopted or accepted by a court. See Montrose Medical Grp. Participating Sav. Plan v. Bulger,

243 F.3d 773, 778 (3d Cir. 2001) (“we hold that a party has not displayed bad faith for judicial

estoppel purposes if the initial claim was never accepted or adopted by a court or agency”); Coast

Auto. Grp, Ltd. v. VW Credit, Inc., 34 Fed. Appx. 818, 823 (3d Cir. 2002) (quoting Montrose).

       57.     In any event, if anyone should be judicially estopped, it is the Trustee. In another

adversary proceeding pending before this Court, the Trustee claims that he has a superior right to

keep funds recovered in such litigation. The Trustee seeks to benefit from the vacated settlement




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by keeping recovered funds while simultaneously pursuing claims against CIT that were released

in exchange for such funds. That is a basis for judicial estoppel.

                                         CONCLUSION

       For the foregoing reasons, the Court should (i) deny the Motion to Substitute, (ii) enter

judgment in CIT’s favor with respect to all Counts of the Complaint and (iii) grant such further

relief to CIT as is appropriate.


 Dated: May 28, 2020                                    Respectfully submitted,
 Wilmington, Delaware
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